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                            NOT FOR PUBLICATION                           FILED
                     UNITED STATES COURT OF APPEALS                        APR 23 2025
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
                            FOR THE NINTH CIRCUIT

 IRVIN MUSGROVE,                                 No. 23-3922
                                                 D.C. No. 3:20-cv-00614-JO-BLM
              Plaintiff - Appellant,

   v.                                            MEMORANDUM*

 ANGIE HANIFIN; OCEANSIDE
 HOUSING AUTHORITY; MARGERY
 PIERCE; KEYSA MACHADO; SUSANA
 SANDOVAL-SOTO,

              Defendants - Appellees.

                    Appeal from the United States District Court
                       for the Southern District of California
                      Jinsook Ohta, District Judge, Presiding

                             Submitted April 22, 2025**

 Before:      GRABER, H.A. THOMAS, and JOHNSTONE, Circuit Judges.

        Irvin Musgrove appeals pro se from the district court’s judgment dismissing

 his action alleging housing rights violations under federal and state laws. We have



        *
              This disposition is not appropriate for publication and is not precedent
 except as provided by Ninth Circuit Rule 36-3.
        **
              The panel unanimously concludes this case is suitable for decision
 without oral argument. See Fed. R. App. P. 34(a)(2).
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 jurisdiction under 28 U.S.C. § 1291. We review for an abuse of discretion.

 Applied Underwriters, Inc. v. Lichtenegger, 913 F.3d 884, 890 (9th Cir. 2019)

 (dismissal for failure to comply with a court order under Fed. R. Civ. P. 41(b)); Rio

 Props., Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1022 (9th Cir. 2002) (dismissal as

 a discovery sanction under Fed. R. Civ. P. 37). We affirm.

       The district court did not abuse its discretion by dismissing Musgrove’s

 action because Musgrove failed to comply with discovery-related and other court

 orders despite being warned that noncompliance could result in dismissal, and the

 district court found that Musgrove’s behavior was willful. See Fed. R. Civ. P.

 37(b)(2) (permitting dismissal of action where a party has failed to comply with

 court’s discovery orders); Fed. R. Civ. P. 41(b) (district court may dismiss an

 action “[i]f the plaintiff fails to prosecute or to comply with these rules or a court

 order”); Applied Underwriters, 913 F.3d at 890-91 (setting forth five factors to be

 considered before dismissing under Rule 41(b)); In re Phenylpropanolamine (PPA)

 Prods. Liab. Litig., 460 F.3d 1217, 1233 (9th Cir. 2006) (“Rule 37 sanctions,

 including dismissal, may be imposed where the violation is due to willfulness, bad

 faith, or fault of the party.” (citation and internal quotation marks omitted)); Rio

 Props., 284 F.3d at 1022 (discussing five factors courts must weigh in determining

 whether to dismiss under Rule 37(b)).




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       We reject as unsupported by the record Musgrove’s contentions that the

 district court was biased against him or committed fraud.

       We do not consider Musgrove’s challenges to the district court’s

 interlocutory orders in light of our disposition. See Al–Torki v. Kaempen, 78 F.3d

 1381, 1386 (9th Cir. 1996) (where dismissal was a sanction, interlocutory orders

 are not appealable).

       AFFIRMED.




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